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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 18−22949−JNP
                                         Chapter: 13
                                         Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Sean Terrance McCormick                                  Paula Anne McCormick
   849 Buckwood Lane                                        849 Buckwood Lane
   Vineland, NJ 08361−6592                                  Vineland, NJ 08361−6592
Social Security No.:
   xxx−xx−2209                                              xxx−xx−2643
Employer's Tax I.D. No.:


                                    NOTICE OF RECEIPT OF RESPONSE TO
                                     NOTICE OF FINAL CURE PAYMENT

     TO: Sean Terrance McCormick and Paula Anne McCormick
          Debtor(s)

     You are hereby notified that a Response to Notice of Final Cure Payment has been filed. Under
Fed. R. Bankr. P. 3002.1(h), if you disagree with the creditor's response, a motion must be filed to determine whether
the debtor has cured the default and paid post−petition amounts.




Dated: June 21, 2023
JAN: dmb

                                                         Jeanne Naughton, Clerk
